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 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 CHRIS KALTSAS (NYBN 5460902)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-6915
 7        Fax: (415) 436-7234
          chris.kaltsas2@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                       ) CASE NO. 3:22-MJ-70795 LB
                                                     )
14           Plaintiff,                              ) [PROPOSED] DETENTION ORDER
                                                     )
15      v.                                           )
                                                     )
16   ALEX MURILLO,                                   )
                                                     )
17           Defendant.                              )
                                                     )
18

19           On June 17, 2022, defendant Alex Murillo was charged by Criminal Complaint with distribution
20 of fentanyl in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C); and

21 distribution of fifty grams or more of a mixture or substance containing a detectable amount of

22 methamphetamine, in violation of Title 21, United States Code, Sections 841(a)(1)(and (b)(1)(B)(viii).

23           This matter came before the Court on June 30, 2022, for a detention hearing. The defendant was
24 present and represented by Assistant Federal Public Defender Gabriela Bischof. Assistant United States

25 Attorney Chris Kaltsas appeared for the government. The government moved for detention on the basis

26 of danger to the community and risk of flight. For the reasons stated on the record in open court, the

27 Court orders the defendant detained pending trial in this matter.

28

     [PROPOSED] DETENTION ORDER                      1                                               v. 11/01/2018
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 1          The present order serves as written findings of fact and a statement of reasons as required by

 2 Title 18, United States Code, Section 3142(i)(1). This finding is made without prejudice to the

 3                                      his detention, subject to the requirements of 18 U.S.C. § 3142(f).

 4          Pursuant to 18 U.S.C. § 3142(i), IT IS ORDERED THAT:

 5          1.      The defendant be, and hereby is, committed to the custody of the Attorney General for

 6 confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving

 7 sentences or being held in custody pending appeal;

 8          2.      The defendant be afforded reasonable opportunity for private consultation with counsel;

 9 and

10          3.      On order of a court of the United States or on request of an attorney for the government,

11 the person in charge of the corrections facility in which the defendant is confined shall deliver the

12 defendant to an authorized United States Marshal for the purpose of any appearance in connection with a

13 court proceeding.

14          Moreover, pursuant to 18 U.S.C. § 3142(f), IT IS ORDERED THAT:

15          1.      This determination is made without prejudice to being reopened at any time if the Court

16 finds that information exists that was not known to the defendant at the time of the detention hearing and

17 that has a material bearing on the issue of whether there are conditions of release that will reasonably

18 assure the appearance of such person as required and the safety of any other person and the community.

19          IT IS SO ORDERED.

20

21 DATED: June __,
               30 2022                                           ________________________
                                                                 HON. LAUREL BEELER
22
                                                                 United States Magistrate Judge
23

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27

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     [PROPOSED] DETENTION ORDER                      2                                             v. 11/01/2018
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